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July 26, 2019

Via ECF and Hand Delivery

Honorable Lewis A. Kaplan, United States District Judge
Daniel Patrick Moynihan U.S. Courthouse

500 Pearl Street

New York, NY 10007

Re: In re: Customs and Tax Administration of the Kingdom of Denmark
(SKAT) Tax Refund Litigation, Docket Number 18-md-2865 (LAK)

Dear Judge Kaplan:

The purpose of this letter is to inform you that Defendants in the consolidated cases, as set
forth below, filed Answers today with the Court in the dockets for their respective actions. As
previously explained in our letters, dated February 20, 2019 and July 25, 2019, counsel made good
faith effort to comply with Paragraph 1 of the Court’s Pretrial Order No. 4, dated October 10, 2018
[ECF Dk. # 2], which requires the filings to be made in the master docket and “spread” to the
action it applies to, but was unable to do so. Filing an Answer in the master docket would not
allow the filing to be “spread” to the appropriate action to which it related. Counsel for the
Defendants contacted the Clerk’s Office and the ECF Help Desk and made a formal request for
the technical “glitch” to be fixed. On February 21, 2019, counsel followed up with the ECF Help
Desk and was informed that this is not a “glitch;” rather the system is set up in a manner that does
not allow a “spreading” option when the filing is made under “Answer to Complaint.” On July
26, 2019, counsel for the Defendants again attempted to “spread” the Answers to the appropriate
actions, but was still unable to do so. To ensure that the filed Answers accurately correlate to the
appropriate Complaints, counsel filed the Answers in the respective dockets for each of the actions
to which they relate.

To comply with the Court’s Pretrial Order No. 4, we are attaching the following Answers,
filed today, as exhibits to this Letter:

1. Answer to the Complaint by The 78 Yorktown Pension Plan, SKAT v. The 78
Yorktown Pension Plan, et al., Docket Number 1:18-cv-09565-LAK;
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Answer to the Complaint by Roger Lehman, SKAT v. The 78 Yorktown Pension
Plan, et al., Docket Number 1:18-cv-09565-LAK;

Answer to the Complaint by The Cambridge Town Line Pension Plan, SKAT v.
The Cambridge Town Line Pension Plan, et al., Docket Number 1:18-cv-09570-
LAK;

Answer to the Complaint by Roger Lehman, SKAT v. The Cambridge Town Line
Pension Plan, et al., Docket Number 1:18-cv-09570-LAK;

Answer to the Complaint by The Diamond Scott Capital Pension Plan, SKAT v.
The Diamond Scott Capital Pension Plan, et al., Docket Number 1:18-cv-09587-
LAK;

Answer to the Complaint by Roger Lehman, SKAT v. The Diamond Scott Capital
Pension Plan, et al., Docket Number 1:18-cv-09587-LAK;

Answer to the Complaint by The Hotel Fromance Pension Plan, SKAT v. The Hotel
Fromance Pension Plan, et al., Docket Number 1:18-cv-09588-LAK;

Answer to the Complaint by Roger Lehman, SKAT v. The Hotel Fromance
Pension Plan, et al., Docket Number 1:18-cv-09588-LAK;

Answer to the Complaint by The Mountain Air LLC 401K Plan, SKAT v. The
Mountain Air LLC 401K Plan, et al., Docket Number 1:18-cv-09589-LAK;

Answer to the Complaint by Roger Lehman, SKAT v. The Mountain Air LLC 401K
Plan, et al., Docket Number 1:18-cv-09589-LAK;

Answer to the Complaint by The SKSL LLC Pension Plan, SKAT v. The SKSL
LLC Pension Plan, et al., Docket Number 1:18-cv-09590-LAK;

Answer to the Complaint by Roger Lehman, SKAT v. The SKSL LLC Pension
Plan, et al., Docket Number 1:18-cv-09590-LAK;

Answer to the Complaint by The Snow Hill Pension Plan, SKAT v. The Snow Hill
Pension Plan, et al., Docket Number 1:18-cv-09650-LAK;

Answer to the Complaint by Roger Lehman, SKAT y. The Snow Hill Pension Plan,
et al., Docket Number 1:18-cv-09650-LAK;

Answer to the Complaint by The Westridge Ave LLC 401K Plan, SKAT v. The
Westridge Ave LLC 401K Plan, et al., Docket Number 1:18-cv-09665-LAK;

Answer to the Complaint by Roger Lehman, SKAT v. The Westridge Ave LLC
401K Plan, et al., Docket Number 1:18-cv-09665-LAK;
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17. Answer to the Complaint by The Shapiro Blue Management LLC 401K Plan,

SKAT v. The Shapiro Blue Management LLC 401K Plan, et al., Docket Number
1:18-cv-09666-LAK;

18. Answer to the Complaint by Roger Lehman, SKAT v. The Shapiro Blue
Management LLC 401K Plan, et al., Docket Number 1:18-cv-09666-LAK;

19. Answer to the Complaint by The Patrick Partners Conglomerate Pension Plan,
SKAT v. The Patrick Partners Conglomerate Pension Plan, et al., Docket Number
1:18-cv-09668-LAK;

20. Answer to the Complaint by Roger Lehman, SKAT vy. The Patrick Partners
Conglomerate Pension Plan, et al., Docket Number 1:18-cv-09668-LAK;

21. Answer to the Complaint by CSCC Capital Pension Plan, SKAT v. CSCC Capital
Pension Plan, et al., Docket Number 1:18-cv-09669-LAK;

22. Answer to the Complaint by Roger Lehman, SKAT v. CSCC Capital Pension Plan,
et al., Docket Number 1:18-cv-09669-LAK;

23. Answer to the Complaint by The Cardinal Consulting Pension Plan, SKAT v. The
Cardinal Consulting Pension Plan, et al., Docket Number 1:18-cv-10028-LAK;

24. Answer to the Complaint by Matthew Tucci, SKAT v. The Cardinal Consulting
Pension Plan, et al., Docket Number 1:18-cv-10028-LAK;

25. Answer to the Complaint by The Egret Associates LLC 401K Plan, SKAT v. The
Egret Associates LLC 401K Plan, et al., Docket Number 1:18-cv-10030-LAK;

26. Answer to the Complaint by Matthew Tucci, SKAT v. The Egret Associates LLC
401K Plan, et al., Docket Number 1:18-cv-10030-LAK;

27. Answer to the Complaint by The Crow Associates Pension Plan, SKAT v. The
Crow Associates Pension Plan, et al., Docket Number 1:18-cv-10031-LAK;

28. Answer to the Complaint by Matthew Tucci, SKAT v. The Crow Associates
Pension Plan, et al., Docket Number 1:18-cv-10031-LAK;

29. Answer to the Complaint by The Heron Advisors Pension Plan, SKAT v. The
Heron Advisors Pension Plan, et al., Docket Number 1:18-cv-10032-LAK;

30. Answer to the Complaint by Matthew Tucci, SKAT v. The Heron Advisors Pension
Plan, et al., Docket Number 1:18-cv-10032-LAK;

31. Answer to the Complaint by The Hoboken Advisors LLC 401K Plan, SKAT v. The
Hoboken Advisors LLC 401K Plan, et al., Docket Number 1:18-cv-10035-LAK;
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32. Answer to the Complaint by Matthew Tucci, SKAT v. The Hoboken Advisors LLC

401K Plan, et al., Docket Number 1:18-cv-10035-LAK;

33. Answer to the Complaint by The Jayfran Blue Pension Plan, SKAT v. The Jayfran
Blue Pension Plan, et al., Docket Number 1:18-cv-10036-LAK;

34. Answer to the Complaint by Matthew Tucci, SKAT v. The Jayfran Blue Pension
Plan, et al., Docket Number 1:18-cv-10036-LAK;

35. Answer to the Complaint by The JT Health Consulting LLC 401K Plan, SKAT v.
The JT Health Consulting LLC 401K Plan, et al., Docket Number 1:18-cv-10039-
LAK;

36. Answer to the Complaint by Matthew Tucci, SKAT v. The JT Health Consulting
LLC 401K Plan, et al., Docket Number 1:18-cv-10039-LAK;

37. Answer to the Complaint by The Lakeview Advisors 401K Plan, SKAT v. The
Lakeview Advisors 401K Plan, et al., Docket Number 1:18-cv-10049-LAK;

38. Answer to the Complaint by Matthew Tucci, SKAT v. The Lakeview Advisors
401K Plan, et al., Docket Number 1:18-cv-10049-LAK;

39. Answer to the Complaint by The Osprey Associates LLC 401K Plan, SKAT v. The
Osprey Associates LLC 401K Plan, et al., Docket Number 1:18-cv-10060-LAK;

40. Answer to the Complaint by Matthew Tucci, SKAT v. The Osprey Associates LLC
401K Plan, et al., Docket Number 1:18-cv-10060-LAK;

41. Answer to the Complaint by The Sandpiper Pension Plan, SKAT v. The Sandpiper
Pension Plan, et al., Docket Number 1:18-cv-10061-LAK;

42. Answer to the Complaint by Matthew Tucci, SKAT v. The Sandpiper Pension
Plan, et al., Docket Number 1:18-cv-10061-LAK;

43. Answer to the Complaint by The Zen Training LLC 401K Plan, SKAT v. The Zen
Training LLC 401K Plan, et al., Docket Number 1:18-cv-10062-LAK;

44. Answer to the Complaint by Matthew Tucci, SKAT v. The Zen Training LLC 401K
Plan, et al., Docket Number 1:18-cv-10062-LAK;

45. Answer to the Complaint by Blackrain Pegasus LLC Solo 401K Plan, SKAT v.
Blackrain Pegasus LLC Solo 401K Plan, et al., Docket Number 1:18-cv-10119-
LAK;

46. Answer to the Complaint by Doston Bradley, SKAT v. Blackrain Pegasus LLC
Solo 401K Plan, et al., Docket Number 1:18-cv-10119-LAK;
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Answer to the Complaint by Gyos 23 LLC Solo 401K Plan, SKAT v. Gyos 23 LLC
Solo 401K Plan, et al., Docket Number 1:18-cv-10122-LAK;

Answer to the Complaint by Doston Bradley, SKAT v. Gyos 23 LLC Solo 401K
Plan, et al., Docket Number 1:18-cv-10122-LAK;

Answer to the Complaint by The Oak Tree One 401K Plan, SKAT v. The Oak Tree
One 401K Plan, et al., Docket Number 1:18-cv-10123-LAK;

Answer to the Complaint by Doston Bradley, SKAT v. The Oak Tree One 401K
Plan, et al., Docket Number 1:18-cv-10123-LAK;

Answer to the Complaint by The Joanne E. Bradley Plan, SKAT v. The Joanne E.
Bradley Plan, et al., Docket Number 1:18-cv-10124-LAK;

Answer to the Complaint by Doston Bradley, SKAT v. The Joanne E. Bradley
Plan, et al., Docket Number 1:18-cv-10124-LAK;

Answer to the Complaint by Delgado Fox LLC Solo 401K Plan, SKAT v. Delgado
Fox LLC Solo 401K Plan, et al., Docket Number 1:18-cv-10125-LAK;

Answer to the Complaint by Doston Bradley, SKAT v. Delgado Fox LLC Solo
401K Plan, et al., Docket Number 1:18-cy-10125-LAK;

Answer to the Complaint by Pegasus Fox 23 LLC Solo 401K Plan, SKAT v.
Pegasus Fox 23 LLC Solo 401K Plan, et al., Docket Number 1:18-cv-10126-
LAK; and

Answer to the Complaint by Doston Bradley, SKAT v. Pegasus Fox 23 LLC Solo
401K Plan, et al., Docket Number 1:18-cv-10126-LAK.

Please be advised that two copies of this letter and each of the filed Answers as set forth
above will also be delivered to the Chambers.

Respectfully submitted,

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Mark Allison, Esq.
Counsel for the Defendants
Blackrain Pegasus LLC Solo 401K Plan
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ce:

Plaintiff's Counsel via ECF.

CSCC Capital Pension Plan

Delgado Fox LLC Solo 401K Plan

Gyos 23 LLC Solo 401K Plan

Pegasus Fox 23 LLC Solo 401K Plan
The 78 Yorktown Pension Plan

The Cambridge Town Line Pension Plan
The Cardinal Consulting Pension Plan
The Crow Associates Pension Plan

The Diamond Scott Capital Pension Plan
The Egret Associates LLC 401K Plan
The Heron Advisors Pension Plan

The Hoboken Advisors LLC 401K Plan
The Hotel Fromance Pension Plan

The Jayfran Blue Pension Plan

The Joanne E. Bradley Plan

The JT Health Consulting LLC 401K Plan
The Lakeview Advisors 401K Plan

The Mountain Air LLC 401K Plan

The Oak Tree One 401K Plan

The Osprey Associates LLC 401K Plan
The Sandpiper Pension Plan

The SKSL LLC Pension Plan

The Snow Hill Pension Plan

The Westridge Ave LLC 401K Plan

The Shapiro Blue Management LLC 401K
Plan

The Patrick Partners Conglomerate Pension
Plan

The Zen Training LLC 401K Plan
Doston Bradley

Roger Lehman

Matthew Tucci
